 

Case 1:16-cv-03391-PAE Document 12 Filed 06/30/16 Page 1 of 1
Steven M. Coyle

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Intellectual Property Attorneys

HARTFORD June 30, 2016
20 Church Street
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Hartford, Cr 06103 VIA ECF

phone: 860-286-2929

fax: 860'286`0115 The Honorable Paul A. Engelmayer, U.S.D.J.

U.S. District Court, Southern District of NeW York
40 Foley Square, Room 2201

WAsHlNGToN, D.c. New York, NY 10007
1800 Diagonal Road
suite 400 _ _ _ _
Alexandn~a, vA 22314 Re: Blalr v. Alstom S.A. et al., Clvll Actlon No. 1:16-cv-03391-PAE

phone: 703-236-4500
fax: 703-236-4501

Dear Judge Engelmayer:
ATLANTA
1180 Pe°d;:‘_:t:$zt(r_)§€(; This firm represents Defendant, Alstom S.A. (“Alstom”), in the above-
Atlamal GA 30309 referenced matter. This letter-motion is Written on behalf of Alstom to
phone 404-607-9991 respectfully request an extension of time for Alstom to answer, move, or
fm 404'607'9981 otherwise respond to the complaint in the above-named matter.
HoUsToN
2603 AHQHSYO Dl'iv€ The present due date for Alstom to answer, move, or otherwise
Houstonls¥§e;§;g respond to the complaint is July 1, 2016. Alstom respectfully moves the
phone 713_266-1130 Court to extend the July 1, 2016 due date by Sixty (60) days to September 1,
fQX= 713'266'8510 2016. Although the parties dispute Whether Plaintiff Scott Blair properly
DETRO|T served process on Alstom, they have agreed to the September 1, 2016 due date
201 W. 1319 Beaver Roqd in exchange for Alstom’s agreement not to challenge the sufficiency of
Suite 1101

Plaintiff’s service of rocess.
Troy, M148084 p

phone: 248-524-2300
fax: 248-524-2700 Thrs is Alstom’s first request for an extension of time to answer, move,

or otherWi e respond to the complaint

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www.cantorcolbum.com

 

cc via ECF:

Darius Keyhani, Esq.
Attorney for Plaz`ntijj‘$cott Blair

